                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:19-CV-00312-GCM
 WEST INVESTMENT FOREIGN
 SHARES, LLC,
 FIDUS INVESTMENT
 CORPORATION,

                Plaintiffs,

    v.                                                         AMENDED ORDER

 JOHN SHAW,
 MCCOLLUM BUSINESS, LLC,
 GROVE 1005, LLC,
 DANIEL A. MCCOLLUM,

                Defendants.


         THIS MATTER comes before the Court pursuant to Plaintiffs’ Consent Motion for

Extension of Time to File a Response to Defendants’ Pleadings [ECF Doc. 68] and the Court’s

TEXT-ONLY ORDER granting the Motion as to Plaintiffs Fidus Investment Corporation and

West Investment Foreign Shares, LLC. The portion of the Court’s Order stating “Responses to all

Defendants’ pleadings due by 11/23/2020” is hereby amended to “Plaintiffs Fidus Investment

Corporation and West Investment Foreign Shares, LLC’s Responses to Defendants Daniel A.

McCollum, John Shaw, Grove 1005, and McCollum Business, LLC’s pleadings due by

11/23/2020.” All other deadlines remain unchanged.

         SO ORDERED.
                                         Signed: November 5, 2020




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